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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

United States of America,

            Plaintiff,
                                          Case No. 23-mj-30387
      v.

Sajed Al-Maarej,

        Defendant.
____________________/

                                Appearance

      To the Clerk of this Court and all parties of record:

      Enter my appearance as Counsel in this case for Sajed Al-Maarej. I

certify that I am admitted to practice in the Court.

                                          Submitted,


                                          s/ Fabián Rentería Franco
                                          FEDERAL COMMUNITY DEFENDER
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